        4:16-cv-04203-SLD-JEH # 23            Page 1 of 1
                                                                                                   E-FILED
                                                                      Monday, 10 April, 2017 12:53:15 PM
                                                                           Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                ROCK ISLAND DIVISION

 ASHLEY NICHOLE BERGHEGER,

 Plaintiff,                                                Case No: 4:16-cv-04203-SLD-JEH

 v.                                                        Honorable Judge Sara L. Darrow

 COMENITY BANK,

 Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, ASHLEY

NICHOLE BERGHEGER, and the Defendant, COMENITY BANK, through their respective

counsel that the above-captioned action is dismissed, with prejudice, against COMENITY BANK,

pursuant to Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees.


Dated: April 10, 2017                                  Respectfully Submitted,

ASHLEY NICHOLE BERGHEGER                              COMENITY BANK

/s/ Nathan C. Volheim                                 /s/ James J. Morrissey (with consent)
Nathan C. Volheim                                     James J. Morrissey
Counsel for Plaintiff                                 Counsel for Defendant
Sulaiman Law Group, LTD                               Pilgrim Christakis LLP
900 Jorie Boulevard, Suite 150                        321 North Clark Street, 26th Floor
Oak Brook, Illinois 60523                             Chicago, IL 60654
Phone: (630) 575-8181                                 Phone: (312) 280-0441
Fax :( 630) 575-8188                                  jmorrissey@pilgrimchristakis.com
nvolheim@sulaimanlaw.com
